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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION



          JOCELYN ROBERTS, individually                CIVIL NO. 3:21-cv-00750
          and on behalf of all others similarly
                        situated                       CJRA TRACK: D
                      Plaintiff,
                                                       JURY TRIAL: No.
                            vs
                                                       JUDGE: Hon. David W. Dugan
               GRAPHIC PACKAGING
               INTERNATIONAL, LLC                      MANDATORY MEDIATION:                  NO
                    Defendant.

                      NOTICE OF SETTLEMENT AND REQUEST
              TO SET DEADLINE FOR STATUS REPORT ON SETTLEMENT

         Plaintiff Jocelyn Roberts (“Plaintiff”) and Defendant Graphic Packaging International,

LLC (“Defendant”) (collectively, the “Parties”), respectfully notify the Court that the Parties have

reached a class-wide settlement in this matter.

         The Parties have finalized and executed the Settlement Agreement, and are currently

working to identify the last known addresses for the Settlement Class, which includes several

individuals who are not employees of the Defendant.

         Accordingly, the Parties request that the Court: (1) vacate all deadlines in this case; and (2)

set a deadline providing fourteen (14) days to file an status report on their progress in identifying

the Settlement Class’s addresses in the event Plaintiff has not moved for preliminary approval by

that time.




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         DATED: October 31, 2023       Respectfully submitted,


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                                       Class


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